                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION

                                    CIVIL NO. 1:00CR09-13

UNITED STATES OF AMERICA,                      )
                                               )
       Plaintiff,                              )
                                               )
               v.                              )             ORDER DISMISSING
                                               )        SUPERVISED RELEASE PETITION
STEVEN ONEAL RUTHERFORD                        )
                                               )
       Defendants                              )
                                               )




       THIS MATTER is before the Court on the Government’s motion to dismiss the

supervised release violation petition filed January 22, 2008, with prejudice.

       For cause shown,

       IT IS, THEREFORE, ORDERED that the Government’s motion is ALLOWED, and

the pending Petition for Warrant for Offender Under Supervision and accompanying report of a

violation of supervised release are hereby DISMISSED WITH PREJUDICE.

       IT IS FURTHER ORDERED that the Defendant’s term of supervised release is

TERMINATED and attorney fees owed by the Defendant are hereby REMITTED.




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                                 Signed: March 20, 2008




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